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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 19-CIV-60218-RAR

  ANDREW THOMPSON,

         Plaintiff,

  v.

  PORTFOLIO RECOVERY
  ASSOCIATES, LLC,

        Defendant.
  ___________________________/

                ORDER DISMISSING COMPLAINT WITHOUT PREJUDICE

         THIS CAUSE comes before the Court upon a sua sponte review of the record. On June

  17, 2019 the Court issued an Order scheduling mediation before John Gale on August 29, 2019

  [ECF No. 30]. The parties agreed to re-schedule the mediation for August 22, 2019 without

  notifying the Court of the same. Nonetheless, on August 21, 2019, the Mediator’s office reminded

  pro se Plaintiff that the mediation was scheduled for the following day. According to Plaintiff, he

  received the Notice, but “became distracted” and did not respond to the email to note that he would

  be unable to attend the scheduled mediation. Plaintiff failed to appear at the mediation.

         Almost one week after the scheduled mediation was supposed to occur, Plaintiff filed a

  Notice of Failure to Attend Mediation, noting that he failed to attend the mediation. Plaintiff list

  a host of reasons for his failure to attend, including his inability to remember the scheduled date,

  his expectation that the Court would issue a revised order (when the parties had not notified the

  Court of the change in schedule), and his need to care for his ailing parents. While the Court

  understands Plaintiff’s predicaments, Plaintiff’s failure to file a motion to reschedule the

  mediation, or otherwise seek leave from the scheduling order is unexplained.
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         This Court’s Scheduling Order provides, “if a mediation is not conducted, the case may be

  stricken from the trial calendar, and other sanctions may be imposed.” [ECF No. 23]. Similarly,

  this Court’s Order Providing Instructions to Pro Se Litigant notes that “a pro se litigant bears

  responsibility for actively pursuing his or her case and must obtain any essential discovery, file all

  necessary pleadings and motions, comply with all scheduling orders, and prepare the case for

  trial.” [ECF No. 33] (emphasis added). In this case, Plaintiff’s failure to attend a mediation

  scheduled more than two months ago, without seeking leave of Court, is unacceptable.

  Accordingly, it is

         ORDERED AND ADJUDGED that Plaintiff’s Amended Complaint [ECF No. 14] is

  DISMISSED without prejudice. The Clerk is directed to CLOSE this case. Any pending

  motions are DENIED as moot.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 28th day of August, 2019.




                                                             _________________________________
                                                             RODOLFO RUIZ
                                                             UNITED STATES DISTRICT JUDGE




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